PX 1
AFFIDAVIT OF RAEMONICA CLOYD

I, RAEMONICA CLOYD, being duly sworn, make the following statements under

penalty of perjury:

ds

I am 42 years of age, and work as an Intelligence Analyst in the United States Army

Reserves.
I currently reside at 5210 Viking Way #104, Louisville, Kentucky 40272.

3. I was employed with the City of Dothan Police Department from May 2005 until

December 2013, and during the year 2012, I was a member of Dothan Police
Department’s recruiting team.

I declare that Frederick Darryl Mathews, hereinafter referred to as Mathews, is employed
by the City of Dothan as the Equal Employment Opportunity Officer (EEO), and that he
was employed as such on February 29, 2012.

I declare the position of EEO Officer is deemed a classified public employee and
department head under the City of Dothan’s Personnel Rules and Regulations Section 2-
10 The Classified Service and the City of Dothan’s Civil Service Act Section 2
Definitions.

I declare that Mike Schmitz, hereinafter referred to as Schmitz, took office as the Mayor
of the City of Dothan on September 29, 2009, and he has continuously held that office to
this date. Schmitz is also private business owner of Mike Schmitz Automotive Group,
which consists of multiple automobile dealerships that include Mercedes Benz of Dothan
and Mike Schmitz Mazda Hyundai located at 2309 Ross Clark Circle, Dothan, Alabama
36301.

I declare that Mathews and Schmitz and/or Schmitz’s employees, representatives, or
assigns created a conflict of interest through the offer and acceptance of a pecuniary
benefit for the referral of customers to Schmitz’s personal business.

I declare that on February 29, 2012 I participated in the City of Enterprise’s job fair,
hereinafter referred to as job fair, event as a Police recruiter for the City of Dothan’s
Police Department that was held at the City of Enterprise Civic Center located at 2401
Neil Metcalf Road, Enterprise, Alabama 36330.
9. I declare that on February 29, 2012 I was accompanied to the job fair by Mathews and
three other City of Dothan Police Officers: SGT Rachel David, Corporal Maurice
Eggleston, Officer Donald Petersen, and City of Dothan Personnel Department employee
Ann Taylor.

10. I declare that during the hours of the recruiting event, from approximately 0900 hours
until approximately 1600 hours, I witnessed Mathews work the job fair event in his
official capacity as the EEO Officer for the City of Dothan.

11. I declare that photographs were taken on February 29, 2012 of Mathews, myself, and the
other City of Dothan employees identified above during the job fair event. Exhibit 1.

12. I declare that I witnessed Mathews engage some of the job fair attendees in conversation
regarding employment with the City of Dothan, and I also referred some of the job fair
attendees to him specifically for questions that fell under his area of responsibility.

13. I declare that I witnessed Mathews engage other attendees in conversation to promote the
purchase of automobiles from the dealerships of Schmitz’s Automotive Group.

14. I declare that I interrupted Mathews’ conversation with an unknown black female at the
job fair event in order to get his assistance with a potential applicant’s questions. It was at
this time that Mathews informed me that he was referring the female to Schmitz’s
dealership to purchase a vehicle that would result in the payment of a “kickback” to him.

15. I declare that Mathews stated to me that for each customer referral he made to Schmitz’s
dealerships that he would in return be paid what he termed as “kickbacks” of $500-$600
and more based on the vehicle purchased by the referred customer.

16. I declare that I stated to Mathews, in response to his explanation, that I wish Schmitz
advertised that to the public so the public was aware. I also stated that would be some
extra money I would like to make.

17. I declare that I witnessed Mathews distribute his City of Dothan business cards to the job
fair attendees until he ran out of them.

18. I declare the City of Dothan’s Employee Handbook Personnel Rules and Regulations
Major Offense Sec. 3-42 (13) states: Misconduct, contravention of criminal law, or any
conduct which reflects unfavorably on the City as an employer or public entity,

punishable on first offense by final warning and suspension. Mathews conduct at the job
fair of referring customers to Schmitz’s dealerships while working in his official capacity
as EEO violates Section 3-42 (13). Exhibit 2.

19. I declare the City of Dothan’s Employee Handbook Personnel Rules and Regulations

Intolerable Offense Sec. 3-43 (12) states: Acceptance of gratuities for personal favors or
personal gain as defined by the ethics laws of the State of Alabama would be a violation
of Personnel Rules punishable on first offense by discharge, and applies to Mathews
actions while promoting the private business of another while working in his official
capacity as EEO. Exhibit 3.

20. I declare that between May 2005 and October 2006 I was informed by members of the

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Personnel Department that I could not offer Prepaid Legal Services as a licensed
Producer, State of Alabama Producer license number 0237424, to City of Dothan
employees’ if it would result in any kind of monetary benefit to me from the employees
paid memberships to Prepaid Legal Services, and because that type of relationship would
create a conflict of interest. Exhibit 4.

I declare that I was denied the right to offer Prepaid Legal Services to employees of the
City of Dothan to prevent any conflict of interest, or violation of the City of Dothan’s
Civil Service Act, Personnel Rules and Regulations, and/or Alabama Ethics Laws.

22. 1 declare that to the best of my knowledge and belief, the information herein is true,

Date

correct, and complete.

[| SepremMAeR 2015

 

STATE OF KENTUCKY
COUNTY OF HARDIN

Subscribed and sworn to before me this 11th day of September, 2015.
Vegi, Farge

[SEAL] NOTARY PUBLIC

Name: if ley anda FE, 1g AC#O BR

 

My commission expires on: Jad) ef ife
